Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 1 of 35
EXHIBIT A

Debtor Name: Mosely CONTRACTUAL HISTORY
BK Case Number: |20-32827
BK FILED 5/29/2020
Amount Amount Suspense Suspense
Transaction Date | Payment Made Received Applied Application Balance Comments
Ss 113.00 | $ 113.00
10/1/2014 10/15/2014] S 225.9915 225.99 1S - Ss 113.00
11/1/2014 11/18/2014| $ 225.991 5S 225.99 1S - Ss 113.00
12/1/2014 12/30/2014] S 225.99] S$ 225.99 |S - Ss 113.00
1/1/2015 1/30/2015] $ 225.99 1S 225.99 | S - Ss 113.00
2/1/2015 2/27/2015] $ 225.99 1S 225.99 | S - Ss 113.00
3/1/2015 3/30/2015| $ 225.99 1S 225.99 |S - Ss 113.00
4/1/2015 4/29/2015| S 225.991 5S 225.99 | S - Ss 113.00
5/1/2015 5/30/2015] $ 225.99 1S 225.99 | S - Ss 113.00
6/1/2015 7/2/2015] $ 230.00 | $ 225.99 | S 4.01 |$ 117.01
7/2/2015 S 4.01] S$ (4.01)] $ 113.00 |Escrow payment
9/16/2915] $ 113.00 Ss 113.00] $ 226.00
7/1/2015 9/17/2015 $ 226.00 | S$ (226.00)| $ -
10/1/2015] $ 113.00 Ss 113.00] $ 113.00
10/1/2015] $ 113.00 Ss 113.00] $ 226.00
8/1/2015 10/2/2015 $ 226.00 | S$ (226.00)| S -
9/1/2015 10/15/2015] $ 3,000.00 | $ 803.11 | S$ 2,196.89 | S$ 2,196.89
10/1/2015 10/15/2015 $ 803.11 |S (803.11)| S 1,393.78
10/15/2015 $ 1,371.18|5$ (1,371.18)| $ 22.60 |Curtailment
10/15/2015 $ 22.60 |$ (22.60)} $ - Late Charge Payment
10/20/2015] $ 113.00 Ss 113.00] $ 113.00
10/21/2015 $ 113.00 | $ (113.00)| $ - Curtailment
11/16/2015] $ 113.00 Ss 113.00] $ 113.00
12/19/2016 $ 113.00 | $ (113.00)| S - Escrow payment
9/14/2019] $ 477.00 Ss 477.00 | S$ 477.00
11/1/2015 10/31/2019] $ 480.00 | $ 803.11 |S (323.11)| $ 153.89
12/2/2019] $ 480.00 Ss 480.00 | S$ 633.89
12/1/2015 12/30/2019] S 477.00 | $ 803.11 |S (326.11)| $ 307.78
Ss - Ss 307.78
Ss - S 307.78
Ss - S 307.78

FIXED RATE NOTE

OCTOBER 3, 2008 HOUSTON TEXAS

Oates City State

3005 NITA, HOUSTON, TX 77051

(Property Address)

1. BORROWER'S PROMISE TO PAY

In return for a loan that | have received, | promise to pay U.S.$ 34,400.00 (this arnount is
called "Principal"), plus interest, to the order of the Lender. The Lender is
WELLS FARGO BANK, NLA

| will make all payments under this Note in the form of cash, check or money order.

| understand that the Lender may transfer this Note. The Lender or anyone who takes this Note
by transfer and who is entitled to receive payments under this Note is called the "Note Holder."

2. INTEREST
Interest will be charged on unpaid principal until the full amount of Principal has been paid. |
will pay interest at a yearly rate of 6.875 %.

The interest rate required by this Section 2 is the rate | will pay both before and after any default
described in Section 6(B) of this Note.

3. PAYMENTS
(A) Time and Place of Payments
i will pay principal and interest by making a payment every month.

| will make my monthly payment on the first day of each month beginning on DECEMBER 1, 2008
| will make these payments every month until | have paid all of the principal and interest and

any other charges described below that | may owe under this Note. Each monthly payment will be
applied as of its scheduled due date and will be applied to interest before Principal.

if, on NOVEMBER 1, 2038 , | still owe amounts under this Note, | will pay those amounts in full
on that date, which is called the "Maturity Date."

| will make my monthly payments at WELLS FARGO BANK, NA.
P.O. BOX 11701, NEWARK, NJ 07101-4701
or at a diferent place if required by the Note Holder.

(B) Amount of Monthly Payments
My monthly payment will be in the amount of US. 5 225.99

4. BORROWER'S RIGHT TO PREPAY

| have the right to make payments of Principal at any time before they are due. A payment of
Principal only is known as a "Prepayment." When | make a Prepayment, | will tell the Note Holder in
writing that | am doing so, | may not designate a payment as a Prepayment if | have not made all
the monthly payments due under the Note.

| may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The
Note Holder will use all of my Prepayments to reduce the amount of Principal that | owe under this
Note. However, the Note Holder may apply my Prepayment to the accrued and unpaid interest on
the Prepayment amount, before applying my Prepayment to reduce the Principal amount of the
Note. If | make a partial Prepayment, there will be no changes in the due date or in the amount of
my monthly payment unless the Note Holder agrees in writing to those changes.

MULTIGTATE FIXED TX NOTE > Single Family - ENMAJEHLMC UNIFORM INSTRUMENT FORM S20 104
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5. LOAN CHARGES a
Ifa law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that

the interest or other loan charges collected or to be collected in connection with this loan exceed the

permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce

the charge to the permitted limit; and (b) any sums already collected from me which exceeded

permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing

the Principal | owe under this Note or by making a direct payment to me. Ifa refund reduces Principal,
the reduction will be treated as a partial Prepayment.

6. BORROWER'S FAILURE TO PAY AS REQUIRED
(A) Late Charge for Overdue Payments
lfthe Note Halder has not received the full amount of any monthly payment by the end of 15
calendar days after the date it is due, | will pay a late charge to the Note Holder. The
amount of the charge will be 5.000% of my overdue payment of principal and interest. | will
pay this late charge promptly but only once on each late payment,

(B) Default
lf 1 do not pay the full amount of each monthly payment on the date it is due, | will be in default.

(C) Notice of Default

If lam in default, the Note Holder may send me a written notice telling me that if! do not pay the
overdue amount by a certain date, the Note Holder may require me to pay immediately the full
amount of Principal which has not been paid and all the interest that | owe on that amount. That
date must be at least 30 days after the date on which the notice is mailed to me or delivered by
other means.

(D) No Waiver By Note Holder

Even if, at a time when | am in default, the Note Holder does not require me to pay immediately in
full as described above, the Note Holder will still have the right to do so if | am in default at a later
time.

(E) Payment of Note Holder's Costs and Expenses

lf the Note Holder has required me to pay immediately in full as described above, the Note
Holder will have the right to be paid back by me for all of its costs and expenses in enforcing
this Note to the extent not prohibited by applicable law. Those expenses Include, for example,
reasonable attorney's fees.

7. GIVING OF NOTICES

Uniess applicable law requires a different method, any notice that must be given to me under this
Note will be given by delivering it or by mailing it by first class mail to me at the Property

Address above or at a different address if | give the Note Holder a notice of my different address.
Any notice that must be given to the Note Holder under this Note will be given by delivering it or by
mailing it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a
different address if | am given a notice of that different address.

8 OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of
the promises made in this Note, including the promise to pay the full amount owed. Any person who is
a guarantor, surety or endorser of this Note is also obligated to do these things. Any person who
takes over these obligations, including the obligations of a guarantor, surety or endorser of this

Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce

its rights under this Note against each person individually or against all of us together. This

means that any one of us may be required to pay all of the amounts owed under this Note.

9. WAIVERS

| and any other person who has obligations under this Note waive the rights of Presentment
and Notice of Dishonor. “Presentment" means the right to require the Note Holder to demand
payment of amounts due, “Notice of Dishonor’ means the right to require the Note Holder to
give notice to other persons that amounts due have not been paid.

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10. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition ta the
protections given to the Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the
“Security Instrument"), dated the same date as this Note, protects the Note Holder from possible losses
which might result if | do not keep the promises which | make in this Note, That Security Instrument
describes how and under what conditions | may be required to make immediate payment in full of all
amounts that | owe under this Note. Some of those canditions are described as follaws:

If all or any part of the Firoperty or any Interest in the Property is sold or transferred (or
if Borrower is not a natural person and a beneficial interest in Borrower is sold or
transferred) without Lender's prior written consent, Lender may require immediate payment in
full of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

if Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance
with Section 15 within which Borrower must pay all sums secured by this Security Instrument,

If Borrower fails t ‘these sums prior to t xpiration of this iod, Lender wok
ee Te RELA ESR OSCE Mn Boul Withdenstice SF comane Ove
Borrower.

THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN PARTIES

AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR

SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.
THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

( uh 4
Hag

CHARLES RAY MOSELY 7

(Sign Original Only)

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NM WLS, VICE PRESIDENT
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20080527729
10/22/2008 ER $92.00

Return To:

WELLS FARGO BANK, KA,
FINAL DOCUMENTS X9999-01M
1000 BLUE GENTIAN ROAD
EAGAN, MN 96121-16609
Prepared By:

WELLS FARGO BANK, ALA.
2701 WELLSFAARGO WAY
MINNEAPOLIS, MN $8467.

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DEED OF TRUST

NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU AR A NATURA
PERSON, YOU MAY REMOVE OR STRIKE ANY OR
FOLLOWING INFORMATION FROM ANY INSTRUME THAT
TRANSFERS AN INTEREST IN REAL PROPERTY BEFORE IT 18
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
SECURITY NUMBER OR YOUR DRIVER'S LICENSE NUMBER.
DEFINITIONS

Words used in multiple sections of thig document are defined balow and other words are

defined in Sections 3, 11, 19, 18, 20 and 21. Certaln rules regarding the usage of words used
in this document are also provided in Section 16, ‘

(A) “Security Instrument” means this document, which is dated OCTOBER 3, 2008
together with all Aiders to this document.

(B) *Borrower" is

CHARLES RAV MOSELY, AN UNMARRIED PERSON

Gr
Borrower Is the grantor under this Security Instrument. ay |
4EE (¢) “Lender” is WELLS FARGO BANK, HLA. sree, Trees
Lender is a National Association
organized and existing under the laws of THE UNITED STATES OF AMERICA
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Page 1 of 19 Ural tials STROLA Baw OTT 07
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ELECTRONICALLY RECORDED

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 7 of 35

Return To:

WELLS FARGO BANK, N.A.
FINAL DOCUMENTS X9999-01M
1000 BLUE GENTIAN ROAD
EAGAN, MN 55121-1663
Prepared By:

WELLS FARGO BANK, N.A,
2701 WELLSFARGO WAY
MINNEAPOLIS, MN 55467-

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DEED OF TRUST

NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL
PERSON, YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE
FOLLOWING INFORMATION FROM ANY INSTRUMENT THAT
TRANSFERS AN INTEREST IN, REAL PROPERTY BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
SECURITY NUMBER OR YOUR DRIVER'S LICENSE NUMBER.
DEFINITIONS

Words used in multiple sections of this document are defined below and other words are
defined in Sections 3, 11, 19, 18, 20 and 21. Certain rules regarding the usage of words used
in this document are also provided in Section 16.

(A) “Security Instrument" means this document, which is dated OCTOBER 3, 2006
together with all Riders to this document.

(B) "Borrower" is

CHARLES RAY MOSELY, AN UNMARRIED PERSON

GP ¢
Borrower is the grantor under this Security Instrument. 27/8. IDORFER

(C) "Lender" is WELLS FARGO BANK, N.A. STEWART TITLE Co.
Lender is a National Association
organized and existing under the laws of THE UNITED STATES OF AMERICA

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Lender's address is

P. O. BOX 5137, DES MOINES, IA 50306-5137

Lender is the beneficiary under this Security Instrument.

(D} "Trustee" is ROBERT K. FOWLER '
Trustee's address is

10333 RICHMOND #860, HOUSTON, TX 77042

(E) "Note " means the promissory note signed by Borrower and dated OCTOBER 3, 2008

The Note states that Borrower owes Lender THIRTY-FOUR THOUSAND FOUR HUNDRED
AND NO/100 Doliars

(U.S. $ .......94,400,00 0... ) plus interest. Borrower has promised to pay this debt in regular
Periodic Payments and to pay the debt in full not later than NOVEMBER 1, 2038

(F} "Property" means the property that is described below under the heading "Transfer of
Rights in the Property."

(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges
and late charges due under the Note, and all sums due under this Security Instrument, plus
interest.

(H} "Riders" means all Riders to this Security Instrument that are executed by Borrower.
The following Riders are to be executed by Borrower [check box as applicable]:

[| Adjustable Rate Rider [_] Condominium Rider {]Second Home Rider
[_] Balloon Rider [_] Planned Unit Development Rider L_] 1-4 Family Rider
[_] VA Rider ["] Biweekly Payment Rider {_] other(s) [specify]

(l} “Applicable Law" means all controlling applicable federal, state and local statutes,
regulations, ordinances and administrative rules and orders (that have the effect of law) as
well as all applicable final, non-appealable judicial opinions.

{J) “Community Association Dues, Fees, and Assessments" means all dues, fees,
assessments and other charges that are imposed on Borrower or the Property by a
condominium association, homeowners association or similar organization.

{K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction
originated by check, draft, or similar paper instrument, which is initiated through an
electronic terminal, telephonic instrument, computer, or magnetic tape so as to order,
instruct, or authorize a financial institution to debit or credit an account. Such term includes,
but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers
initiated by telephone, wire transfers, and automated clearinghouse transfers.

(L) "Escrow Items" means those items that are described in Section 3.

(M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or
proceeds paid by any third party (other than insurance proceeds paid under the coverages
described in Section 5) for: {i} damage to, or destruction of, the Property; (ii) condemnation
or other taking of all or any part of the Property; (iii} conveyance in lieu of condemnation; or
(iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

{N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or
default on, the Loan. .

(0) "Periodic Payment” means the regularly scheduled amount due for (i) principal and
interest under the Note, plus (ii) any amounts under Section 3 of this Security Instrument.
{P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et
seq.) and its implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be

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amended from time to time, or any additional or successor legislation or regulation that
governs the same subject matter. As used in this Security Instrument, "RESPA" refers to all
requirements and restrictions that are imposed in regard to a “federally related mortgage
loan" even ifthe Loan does not qualify as a "federally related mortgage loan" under RESPA.
(Q) "Successor in interest of Borrower" means any party that has taken title to the Property,
whether or not that party has assumed Borrower's obligations under the Note and/or this
Security instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower's convenants
and agreements under this Security Instrument and the Note. For this purpose, Borrower
irrevocably grants and conveys to Trustee, in trust, with power of sale, the following
described property located in the

County of HARRIS
{Type of Recarding Jurisdiction] [Name of Recording Jurisdiction]

SEE LEGAL DESCRITPION

THIS IS A PURCHASE MONEY MORTGAGE.

Parcel ID Number: which currently has the address of
3005 NITA [Street]
HOUSTON {City], Texas 77051 [Zip Code]

("Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and
all easements, appurtenances, and fixtures now or hereafter a part of the property. All
replacements and additions shall also be covered by this Security Instrument. All of the
foregoing is referred to in this Security Instrument as the "Property."

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby
conveyed and has the right to grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend
generally the title to the Property against all claims and demands, subject to any
encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security
instrument covering real property.

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UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the
Note and any prepayment charges and late charges due under the Note. Borrower shall
also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and
this Security Instrument shall be made in U.S. currency. However, if any check or other
instrument received by Lender as payment under the Note or this Security Instrument is
returned to Lender unpaid, Lender may require that any or all subsequent payments due
under the Note and this Security Instrument be made in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's
check or cashier's check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds
Transfer.

Payments are deemed received by Lender when received at the location designated in
the Note or at such other location as may be designated by Lender in accordance with the
notice provisions in Section 15. Lender may return any payment or partial payment if the
payment or partial payments are insufficient to bring the Loan current. Lender may accept
any payment or partial payment insufficient to bring the Loan current, without waiver of any
rights hereunder or prejudice to its rights to refuse such payment or partial payments in the
future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender
need not pay interest on unapplied funds. Lender may hold such unapplied funds until
Borrower makes payment to bring the Loan current. If Borrower does not do so within a
reasonable pericd of time, Lender shall either apply such funds or return them to Borrower.
If not applied earlier, such funds will be applied to the outstanding principal balance under
the Note immediately prior to foreclosure. No offset or claim which Borrower might have
now or in the future against Lender shall relieve Borrower from making payments due under
the Note and this Security Instrument or performing the covenants and agreements secured
by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2,
all payments accepted and applied by Lender shail be applied in the following order of

priority: (a} interest due under the Note; (b) principal due under the Note; (c) amounts due
under Section 3. Such payments shall be applied to each Periodic Payment in the order in
which it became due. Any remaining amounts shall be applied first to late charges, second
to any other amounts due under this Security Instrument, and then to reduce the principal
balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which
includes a sufficient amount to pay any late charge due, the payment may be applied to the

delinquent payment and the late charge. If more than one Periodic Payment is outstanding,
Lender may apply any payment received from Borrower to the repayment of the Periodic
Payments if, and to the extent that, each payment can be paid in full. To the extent that any
excess exists after the payment is applied to the full payment of one or more Periodic
Payments, such excess may be applied to any late charges due. Voluntary prepayments
shall be applied first to any prepayment charges and then as described in the Note.

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Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal
due under the Note shall not extend or postpone the due date, or change the amount, of the
Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments
are due under the Note, until the Note is paid in full, a sum (the "Funds") to provide for
payment of amounts due for: (a) taxes and assessments and other items which can attain
priority over this Security Instrument as a lien or encumbrance on the Property; (b)
leasehold payments or ground rents on the Property, if any; (c) premiums for any and all
insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if
any, or any sums payable by Borrower to Lender in Jieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called
"Escrow Items." At origination or at any time during the term of the Loan, Lender may
require that Community Association Dues, Fees, and Assessments, if any, be escrowed by
Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall
promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower
shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to
pay the Funds for any or all Escrow ltems. Lender may waive Borrower's obligation te pay
to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in
writing. In the event of such waiver, Borrower shall pay directly, when and where payable,
the amounts due for any Escrow Items for which payment of Funds has been waived by
Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower's obligation to make such
payments and to provide receipts shall for all purposes be deemed to be a covenant and
agreement contained in this Security Instrument, as the phrase "covenant and agreement"
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a
waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise
its rights under Section 9 and pay such amount and Borrower shall then be obligated under
Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or
all Escrow Items at any time by a notice given in accordance with Section 15 and, upon such
revocation, Borrower shal! pay to Lender all Funds, and in such amounts, that are then
required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit
Lender to apply the Funds at the time specified under RESPA, and (b) not to exceed the
maximum amount a lender can require under RESPA. Lender shail estimate the amount of
Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal
agency, instrumentality, or entity {including Lender, if Lender is an institution whose
deposits are so insured) or in any Federal Home Loan Bank. Lender shall apply the Funds
to pay the Escrow Items no Jater than the time specified under RESPA. Lender shall not
charge Borrower for holding and applying the Funds, annually analyzing the escrow
account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds
and Applicable Law permits Lender to make such a charge. Unless an agreement is made
in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be

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required to pay Borrower any interest or earnings on the Funds, Borrower and Lender can
agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA.

Hf there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall
account to Borrower for the excess funds in accordance with RESPA. If there is a shortage
of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required
by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is a
deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower
as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall
promptly refund to Borrower any Funds held by Lender.

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and
impositions attributable to the Property which can attain priority over this Security
Instrument, teasehold payments or ground rents on the Property, if any, and Community
Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow
ltems, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any tien which has priority over this Security
Instrument unless Borrower: {a) agrees in writing to the payment of the obligation secured
by the lien in a manner acceptable to Lender, but only so long as Borrower is performing
such agreement: (b} contests the lien in good faith by, or defends against enforcement of
the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement
of the lien while those proceedings are pending, but only until such proceedings are
concluded; or (¢) secures from the holder of the lien an agreement satisfactory to Lender
subordinating the lien to this Security Instrument. If Lender determines that any part of the
Property is subject to a lien which can attain priority over this Security Instrument, Lender
may give Borrower a notice identifying the lien. Within 10 days of the date on which that
notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth
above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification
and/or reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter
erected on the Property insured against loss by fire, hazards included within the term

"extended coverage," and any other hazards including, but not limited to, earthquakes and
floods, for which Lender requires insurance. This insurance shall be maintained in the
amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The
insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably.
Lender may require Borrower to pay, in connection with this Loan, either: (a} a one-time
charge for flood zone determination, certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each
time remappings or similar changes occur which reasonably might affect such determination

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or certification. Borrower shall also be responsible for the payment of any fees imposed by
the Federal Emergency Management Agency in connection with the review of any flood
zone determination resulting from an objection by Borrower,

If Borrower fails to maintain any of the coverages described above, Lender may obtain
insurance coverage, at Lender's option and Borrower's expense. Lender is under no
obligation to purchase any particular type or amount of coverage. Therefore, such coverage
shall cover Lender, but might or might not protect Borrower, Borrower's equity in the
Property, or the contents of the Property, against any risk, hazard or liability and might
provide greater or lesser coverage than was previously in effect. Borrower acknowledges
that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under
this Section 5 shall become additional debt of Borrower secured by this Security Instrument.
These amounts shall bear interest at the Note rate from the date of disbursement and shall
be payable, with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject
to Lender's right to disapprove such policies, shall include a standard mortgage clause, and
shall name Lender as mortgagee and/or as an additional loss payee. Lender shall have the
right to hold the policies and renewal certificates. !f Lender requires, Borrower shall
promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower
obtains any form of insurance coverage, not otherwise required by Lender, for damage to,
or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and
Lender. Lender may make proof of loss if not made promptly by Borrower. Unless Lender
and Borrower otherwise agree in writing, any insurance proceeds, whether or not the
underlying insurance was required by Lender, shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not
lessened. During such repair and restoration period, Lender shall have the right to hold
such insurance proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender's satisfaction, provided that such inspection
shall be undertaken promptly. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to
be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shail be the sole
obligation of Borrower. If the restoration or repair is not economically feasible or Lender's
security would be lessened, the insurance proceeds shall be applied to the sums secured
by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower, Such insurance proceeds shall be applied in the order provided for in Section 2.

lf Borrower abandons the Property, Lender may file, negotiate and settle any available
insurance claim and related matters. If Borrower does not respond within 30 days to a
notice from Lender that the insurance carrier has offered to settle a claim, then Lender may
negotiate and settle the claim. The 30-day period will begin when the notice Is given. In

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either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower
hereby assigns to Lender {a) Borrower's rights to any insurance proceeds jn an amount not
to exceed the amounts unpaid under the Note or this Security instrument, and (b) any other
of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are
applicable to the coverage of the Property. Lender may use the insurance proceeds either
to repair or restore the Property or to pay amounts unpaid under the Note or this Security
Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's
principal residence within 60 days after the execution of this Security Instrument and shall
continue to occupy the Property as Borrower's principal residence for at least one year after
the date of occupancy, unless Lender otherwise agrees in writing, which consent shall not
be unreasonably withheld, or unless extenuating circumstances exist which are beyond
Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower
shall not destroy, damage or impair the Property, allow the Property to deteriorate or
commit waste on the Property. Whether or not Borrower is residing in the Property,
Borrower shall maintain the Property in order to prevent the Property from deteriorating or
decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that
repair or restoration is not economically feasible, Borrower shall promptly repair the
Property if damaged to avoid further deterioration or damage. If insurance or condemnation
proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration
in a single payment or in a series of progress payments as the work is completed. If the
insurance or condemnation proceeds are not sufficient to repair or restore the Property,
Borrower is not relieved of Borrower's obligation for the completion of such repair or
restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property.
If it has reasonable cause, Lender may inspect the interior of the improvements on the
Property. Lender shall give Borrower notice at the time of or prior to such an interior
inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan
application process, Borrower or any persons or entities acting at the direction of Borrower
or with Borrower's knowledge or consent gave materially false, misleading, or inaccurate
information or statements to Lender (or failed to provide Lender with material information)
in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal
residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this
Security Instrument, (b) there is a legal proceeding that might significantly affect Lender's
interest in the Property and/or rights under this Security Instrument (such as a proceeding
in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
aitain priority over this Security Instrument or to enforce laws or regulations}, or

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(c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this
Security Instrument, including protecting and/or assessing the vatue of the Property, and
securing and/or repairing the Property. Lender's actions can include, but are not limited to:
(a) paying any sums secured by a lien which has priority over this Security Instrument; (b)
appearing in court; and (c) paying reasonable attorneys’ fees to protect its interest in the
Property and/or rights under this Security Instrument, including its secured position in a
bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the
Property to make repairs, change locks, replace or board up doors and windows, drain
water from pipes, eliminate building or other code violations or dangerous conditions, and
have utilities turned on or off. Although Lender may take action under this Section 9,
Lender does not have to do so and is not under any duty or obligation to do so. It is agreed
that Lender incurs no liability for not taking any or all actions authorized under this Section

9.
Any amounts disbursed by Lender under this Section 9 shall become additional debt of

Borrower secured by this Security Instrument. These amounts shall bear interest at the
Note rate from the date of disbursement and shall be payable, with such interest, upon
notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the
provisions of the lease. If Borrower acquires fee title to the Property, the leasehold and the
fee title shall not merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of
making the Loan, Borrower shall pay the premiums required to maintain the Mortgage
Insurance in effect. If, for any reason, the Mortgage Insurance coverage required by Lender
ceases to be available from the mortgage insurer that previously provided such insurance
and Borrower was required to make separately designated payments toward the premiums
for Mortgage Insurance, Borrower shall pay the premiums required to cbtain coverage
substantially equivalent to the Mortgage Insurance previously in effect, at a cost
substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in
effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent
Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the
amount of the separately designated payments that were due when the insurance coverage
ceased to be in effect. Lender will accept, use and retain these payments as a
non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender
shall not be required to pay Borrower any interest or earnings on such loss reserve.
Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the
amount and for the period that Lender requires) provided by an insurer selected by Lender
again becomes available, is obtained, and Lender requires separately designated payments
toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a
condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums
required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any
written agreement between Borrower and Lender providing for such termination or until
termination is required by Applicable Law. Nothing in this Section 10 affects Borrower's
obligation to pay interest at the rate provided in the Note.

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Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for
certain losses it may incur if Borrower does not repay the Loan as agreed. Borrower is not
a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to
time, and may enter into agreements with other parties that share or modify their risk, or
reduce losses. These agreements are on terms and conditions that are satisfactory to the
mortgage insurer and the other party (or parties) to these agreements. These agreements
may require the mortgage insurer to make payments using any source of funds that the
mortgage insurer may have available (which may include funds obtained from Mortgage
Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer,
any reinsurer, any other entity, or any affiliate of any of the foregoing, may receive {directly
or indirectly) amounts that derive from (or might be characterized as) a portion of
Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the
mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of
Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to
the insurer, the arrangement is often termed "captive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay
for Mortgage insurance, or any other terms of the Loan. Such agreements will not increase
the amount Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to
any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect
to the Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law.
These rights may include the right to receive certain disclosures, to request and obtain
cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
automatically, and/or to receive a refund of any Mortgage Insurance premiums that were
unearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are
hereby assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to
restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. During such repair and restoration period, Lender shall
have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to
inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may pay for the repairs
and restoration in a single disbursement or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to
be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due,
with the excess, if any, paid to Borrower, Such Miscellaneous Proceeds shall be applied in
the order provided for in Section 2.

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In the event of a total taking, destruction, or loss in value of the Property, the
Miscellaneous Proceeds shall be applied. to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the
fair market value of the Property immediately before the partial taking, destruction, or loss
in value is equal to or greater than the amount of the sums secured by this Security
Instrument immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the sums secured by this Security
Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
following fraction: (a) the total amount of the sums secured immediately before the partial
taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be
paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the
fair market value of the Property immediately before the partial taking, destruction, or loss
in value is less than the amount of the sums secured immediately before the partial taking,
destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the
Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument
whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that
the Opposing Party (as defined in the next sentence) offers to make an award to settle a
claim for damages, Borrower fails to respond to Lender within 30 days after the date the
notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either
to restoration or repair of the Property or to the sums secured by this Security Instrument,
whether or not then due. "Opposing Party" means the third party that owes Borrower
Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard
to Miscetlaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is
begun that, in Lender's judgment, could result in forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security Instrument.
Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in
Section 19, by causing the action or proceeding to be dismissed with a ruling that, in
Lender's judgment, prectudes forfeiture of the Property or other material impairment of
Lender's interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest
in the Property are hereby assigned and shall be paid to Lender,

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property
shall be applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time
for payment or modification of amortization of the sums secured by this Security Instrument
granted by Lender to Borrower or any Successor in Interest of Borrower shalt not operate to
release the liability of Borrower or any Successors in Interest of Borrower. Lender shall not
be required to commence proceedings against any Successor in Interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by

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this Security Instrument by reason of any demand made by the original Borrower or any
Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender's acceptance of payments from third persons,
entities or Successors in Interest of Borrower or in amounts less than the amount then due,
shall not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower
covenants and agrees that Borrower's obligations and liability shall be joint and several.
However, any Borrower who co-signs this Security Instrument but does not execute the Note
(a “co-signer’): (a) is co-signing this Security Instrument only to mortgage, grant and convey
the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
personally obligated to pay the sums secured by this Security Instrument; and (c) agrees
that Lender and any other Borrower can agree to extend, modify, forbear or make any
accommodations with regard to the terms of this Security Instrument or the Note without the
co-signer’s consent.

Subject to the provision of Section 18, any Successor in Interest of Borrower who
assumes Borrower's obligations under this Security Instrument in writing, and is approved
by Lender, shall obtain all of Borrower's rights and benefits under this Security Instrument.
Borrower shall not be released from Borrower's obligations and liability under this Security
Instrument unless Lender agrees to such release in writing. The covenants and agreements
of this Security Instrument shall bind (except as provided in Section 20) and benefit the
successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in
connection with Borrower's default, for the purpose of protecting Lender's interest in the
Property and rights under this Security instrument, including, but not limited to, attorneys'
fees, property inspection and valuation fees. In regard to any other fees, the absence of
express authority in this Security Instrument to charge a specific fee to Borrower shall not
be construed as a prohibition on the charging of such fee. Lender may not charge fees that
are expressly prohibited by this Security Instrument or by Applicable Law.

if the Loan is subject to a law which sets maximum loan charges, and that Jaw is finally
interpreted so that the interest or other loan charges collected or to be collected in
connection with the Loan exceed the permitted limits, then: (a) any such loan charge shall
be reduced by the amount necessary to reduce the charge to the permitted limit; and (b)
any sums already collected from Borrower which exceeded permitted limits will be refunded
to Borrower. Lender may choose to make this refund by reducing the principal owed under
the Note or by making a direct payment to Borrower. If a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whether
or not a prepayment charge is provided for under the Note). Borrower's acceptance of any
such refund made by direct payment to Borrower will constitute a waiver of any right of
action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security
instrument must be in writing. Any notice to Borrower in connection with this Security
Instrument shall be deemed to have been given to Borrower when mailed by first class mail
or when actually delivered to Borrower's notice address if sent by other means. Notice to
any one Borrower shall constitute notice to ail Borrowers unless Applicable Law expressly

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requires otherwise. The notice address shall be the Property Address unless Borrower has
designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower's change of address. If Lender specifies a procedure for reporting
Borrower's change of address, then Borrower shall only report a change of address through
that specified procedure. There may be only one designated notice address under this
Security Instrument at any one time. Any notice to Lender shall be given by delivering it or
by mailing it by first class mail to Lender's address stated herein unless Lender has
designated another address by notice to Borrower. Any notice in connection with this
Security Instrument shall not be deemed to have been given to Lender until actually
received by Lender. If any notice required by this Security Instrument is also required
under Applicable Law, the Applicable Law requirement will satisfy the corresponding
requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall
be governed by federal law and the law of the jurisdiction in which the Property is located.
All rights and obligations contained in this Security tnstrument are subject to any
requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly
allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. In the event that any provision or
clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict
shall not affect other provisions of this Security Instrument or the Note which can be given
effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and
include corresponding neuter words or words of the feminine gender; (b) words in the
singular shall mean and include the plural and vice versa; and (c) the word "may" gives
sole discretion without any obligation to take any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this
Security Instrument.

18, Transfer of the Property or a Beneficial Interest in Borrower. As used in this
Section 18, “Interest in the Property” means any legal or beneficial interest in the Property,
including, but not limited to, those beneficial interests transferred in a bond for deed,
contract for deed, installment sales contract or escrow agreement, the intent of which is the
transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or
if Borrower is not a natural person and a beneficial interest in Borrower is sold or
transferred) without Lender's prior written consent, Lender may require immediate payment
in fult of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

if Lender exercises this option, Lender shall give Borrower notice of acceleration. The
notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Section 15 within which Borrower must pay ali sums secured by this
Security Instrument. If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without
further notice or demand on Borrower.

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19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain
conditions, Borrower shall have the right to have enforcement of this Security Instrument
discontinued at any time prior to the earliest of: (a) five days before sale of the Property
pursuant to any power of sale contained in this Security Instrument; (b) such other period as
Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry
of a judgment enforcing this Security Instrument. Those conditions are that Borrower: (a}
pays Lender all sums which then would be due under this Security Instrument and the Note
as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c} pays all expenses incurred in enforcing this Security Instrument, including,
but not limited to, reasonable attorneys’ fees, property inspection and valuation fees, and
other fees incurred for the purpose of protecting Lender's interest in the Property and rights
under this Security Instrument; and (d) takes such action as Lender may reasonably require
to assure that Lender's interest in the Property and rights under this Security Instrument,
and Borrower's obligation to pay the sums secured by this Security Instrument, shall
continue unchanged. Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money
order; ({c) certified check, bank check, treasurer's check or cashier's check, provided any
such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower,
this Security Instrument and obligations secured hereby shall remain fully effective as if no
acceleration had occurred. However, this right to reinstate shall not apply in the case of
acceleration under Section 18.

20, Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial
interest in the Note (together with this Security Instrument) can be sold one or more times
without prior notice to Borrower. A sale might result in a change in the entity (known as the
"Loan Servicer") that collects Periodic Payments due under the Note and this Security
Instrument and performs other mortgage loan servicing obligations under the Note, this
Security instrument, and Applicable Law. There also might be one or more changes of the
Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer,
Borrower will be given written notice of the change which will state the name and address
of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connection with a notice of transfer or servicing. If the Note
is sald and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of
the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan
Servicer or be transferred to a successor Loan Servicer and are not assumed by the Note
purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judiciat action

(as either an individual litigant or the member of a class) that arises from the other party's
actions pursuant to this Security Instrument or that alleges that the other party has
breached any provision of, or any duty owed by reason of, this Security Instrument, until
such Borrower or Lender has notified the other party (with such notice given in compliance
with the requirements of Section 15) of such alleged breach and afforded the other party
hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be
taken, that time period will be deemed to be reasonable for purposes of this paragraph.

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The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22
and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to
satisfy the notice and opportunity to take corrective action provisions of this Section 20.

21, Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances"
are those substances defined as toxic or hazardous substances, pollutants, or wastes by
Environmental Law and the following substances: gasoline, kerosene, other flammable or
toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials: (b} "Environmental Law"
means federal laws and laws of the jurisdiction where the Property is located that relate to
health, safety or environmental protection; (c) “Environmental Cleanup" includes any
response action, remedial action, or removal action, as defined in Environmental Law; and
(d) an "Environmental Condition” means a condition that can cause, contribute to, or
otherwise trigger an Environment Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of
any Hazardous Substances, or threaten to release any Hazardous Substances, on or in the
Property. Borrower shall not do, nor allow anyone else to do, anything affecting the
Property (a) that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The
preceding two sentences shall not apply to the presence, use, or storage on the Property of
small quantities of Hazardous Substances that are generally recognized to be appropriate to
normal residential uses and to maintenance of the Property (including, but not limited to,
hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim,
demand, lawsuit or other action by any governmental or regulatory agency or private party
involving the Property and any Hazardous Substance or Environmental Law of which
Borrower has actual knowledge, (b) any Environmental Condition, including but not limited
to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance,
and (c} any condition caused by the presence, use or release of a Hazardous Substance
which adversely affects the value of the Property. If Borrower learns, or is notified by any
governmental or regulatory authority, or any private party, that any removal or other
remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall
promptly take all necessary remedial actions in accordance with Environmental Law.
Nothing herein shail create any obligation on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as
follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower's breach of any covenant or agreement in this Security Instrument (but
not prior to acceleration under Section 18 unless Applicable Law provides otherwise). The
notice shall specify: (a) the default; (b) the action required to cure the default; (c) a date,
not less than 30 days from the date the notice is given to Borrower, by which the default
must be cured; and (d) that failure to cure the default on or before the date specified in the
notice will resuit in acceleration of the sums secured by this Security Instrument and sale
of the Property. The notice shall further inform Borrower of the right to reinstate after
acceleration and the right to bring a court action to assert the non-existence of a default or
any other defense of Borrower to acceleration and sale. If the default is not cured on or

STX15 Rev 10/26/00 Page 15 of 19 mats OMA, FORM 3044 = 1/01
Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 22 of 35

before the date specified in the notice, Lender at its option may require immediate payment
in full of all sums secured by this Security Instrument without further demand and may
invoke the power of sale and any other remedies permitted by Applicable Law. Lender
shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
Section 22, including, but not limited to, reasonable attorneys’ fees and costs of title
evidence. For the purposes of this Section 22, the term "Lender" includes any holder of the
Note who is entitled to receive payments under the Note.

If Lender invokes the power of sale, Lender or Trustee shall give notice of the time,
place and terms of sale by posting and filing the notice at least 21 days prior to sale as
provided by Applicable Law. Lender shall mail a copy of the notice to Borrower in the
manner prescribed by Applicable Law. Sale shall be made at public vendue. The sale must
begin at the time stated in the notice of sale or not later than three hours after that time and
between the hours of 10 a.m. and 4 p.m. on the first Tuesday of the month. Borrower
authorizes Trustee to sell the Property to the highest bidder for cash in one or more parcels
and in any order Trustee determines. Lender or its designee may purchase the Property at
any sale.

Trustee shail deliver to the purchaser Tustee's deed conveying indefeasible title to the
Property with covenants of general warranty from Borrower. Borrower covenants and
agrees to defend generally the purchaser's title to the Property against all claims and
demands. The recitals in the Trustee's deed shall be prima facie evidence of the truth of the
Statements made therein. Trustee shall apply the proceeds of the sale in the following
order: (a) to all expenses of the sale, including, but not limited to, reasonable Trustee's
and attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess
to the person or persons legally entitled to it.

If the Property is sold pursuant to this Section 22, Borrower or any person holding
possession of the Property through Borrower shall immediately surrender possession of the
Property to the purchaser at that sale. If possession is not surrendered, Borrower or such
person shall be a tenant at sufferance and may be removed by writ of possession or other
court proceeding.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender
shall provide a release of this Security Instrument to Borrower or Borrower's designated
agent in accordance with Applicable Law. Borrower shall pay any recordation costs. Lender
may charge Borrower a fee for releasing this Security Instrument, but only if the fee is paid
to a third party for services rendered and the charging of the fee is permitted under
Applicable Law.

24, Substitute Trustee; Trustee Liability. All rights, remedies and duties of Trustee

under this Security Instrument may be exercised or performed by one or more trustees
acting alone or together. Lender, at its option and with or without cause, may from time to
time, by power of attorney or otherwise, remove or substitute any trustee, add one or more
trustees, or appoint a successor trustee to any Trustee without the necessity of any
formality other than a designation by Lender in writing. Without any further act or
conveyance of the Property the substitute, additional or successor trustee shall become
vested with the title, rights, remedies, powers and duties conferred upon Trustee herein and
by Applicable Law.

STX16 Rev 10/26/00 Page 16 of 19 mntars, OA, FORM 3044 = 1/01
Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 23 of 35

Trustee shall not be liable if acting upon any notice, request, consent, demand,
statement or other document believed by Trustee to be correct. Trustee shall not be liable
for any act or omission unless such act or omission is willful.

25. Subrogation. Any of the proceeds of the Note used to take up outstanding liens
against all or any part of the Property have been advanced by Lender at Borrower's request
and upon Borrower's representation that such amounts are due and are secured by valid
liens against the Property. Lender shall be subrogated to any and all rights, superior titles,
liens and equities owned or claimed by any owner or holder of any outstanding liens and
debts, regardless of whether said liens or debts are acquired by Lender by assignment or
are released by the holder thereof upon payment.

26. Partial Invalidity. In the event any portion of the sums intended to be secured by
this Security Instrument cannot be lawfully secured hereby, payments in reduction of such
sums shall be applied first to those portions not secured hereby.

27. Purchase Money; Owelty of Partition; Renewal and Extension of Liens Against
Homestead Property; Acknowledgment of Cash Advanced Against Non-Homestead Property.
Check box as applicable:

[X] Purchase Money.

The funds advanced to Borrower under the Note were used to pay all or part of the
purchase price of the Property. The Note also is primarily secured by the vendor's lien
retained in the deed of even date with this Security Instrument conveying the Property to
Borrower, which vendor's lien has been assigned to Lender, this Security Instrument being
additional security for such vendor's lien.

Cc] Owelty of Partition.

The Note represents funds advanced by Lender at the special instance and request of
Borrower for the purpose of acquiring the entire fee simple title to the Property and the
existence of an owelty of partition imposed against the entirety of the Property by a court
order or by a written agreement of the parties to the partition to secure the payment of the
Note is expressly acknowledged, confessed and granted,

[] Renewal and Extension of Liens Against Homestead Property.

The Note is in renewal and extension, but not in extinguishment, of the indebtedness
described on the attached Renewal and Extension Exhibit which is incorporated by
reference. Lender is expressly subrogated to all rights, liens and remedies securing the
original holder of a note evidencing Borrower's indebtedness and the original liens securing
the indebtedness are renewed and extended to the date of maturity of the Note in renewal
and extension of the Indebtedness.

C4 Acknowledgment of Cash Advanced Against Non-Homestead Property.

The Note represents funds advanced to Borrower on this day at Borrower's request
and Borrower acknowledges receipt of such funds. Borrower states that Borrower does not
now and does not intend ever to reside on, use in any manner, or claim the Property
secured by this Security Instrument as a business or residential homestead. Borrower
disclaims all homestead rights, interests and exemptions related to the Property.

STX17,)— Rev. 11/13/00 Page 17 of 19 rites OA FORM 3044 = 1/01
Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 24 of 35

28. Loan Not a Home Equity Loan. The Loan evidenced by the Note is not an extension of
credit as defined by Section 50(a}(6) or Section 50(aX(7), Article XVI, of the Texas
Constitution. If the Property is used as Borrower's residence, then Borrower agrees that
Borrower will receive no cash from the Loan evidenced by the Note and that any advances
not necessary to purchase the Property, extinguish an owelty lion, complete construction, or
renew and extend a prior lien against the Property, will be used to reduce the balance
evidenced by the Note or such Loan will be modified to evidence the correct Loan balance,
at Lender's option. Borrower agrees to execute any documentation necessary to comply
with this Section 28.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants

contained in this Security Instrument and in any Rider executed by Borrower and recorded
with it.

Witnesses:

heads Why (Seal)
CHARLES RAY MOSEL

7 Borrower

STX180—s Rav 12/27/00 Page 18 of 19 iniats OM FORM 3044 1/01
Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 25 of 35

STATE OF TEXAS
County of HARRIS

Before me Bleu Whi. on this day personally appeared

CHARLES RAY MOSELY, AN UNMARRIED PERSON

known to me (or proved to me on the oath of

or through OL. } to be the person whose name is subscribed to
the foregoing fstrument and acknowledged to me that he/she/they executed the same for
the purposes and consideration therein expressed.

Given under my hand and seal of office this7aP

B. NEUDORFER

Notary Public, State of Texas i

y My Commission Explras 07-31-2009

j

My Commission come) Al / 07

STX19 Rev 10/26/00 Page 19 of 19 rivaie WAN FORM 3044 = 1/01
Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 26 of 35
EXHIBIT "A"

The West 33 feet of Lot Twenty-seven (27) and the adjoining East 22 feet of
Lot Twenty-eight (28), in Block Twenty-four (24) of REEDWOODS, an addition in
Harris County, Texas according to the map or plat thereof recorded in
Volume 42, Page 71 of the Map Records of Harris County, Texas.
ER 009 - 34 - 0204

ae

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 27 of 35

20080527729

# Pages 21

10/22/2008 08:14:52 AM
e-Filed & e-Recorded in the
Official Public Records of
HARRIS COUNTY

BEVERLY KAUFMAN

COUNTY CLERK

Fees 92.00

RECORDERS MEMORANDUM .

This instrument was received and recorded electronically
and any blackouts, additions or changes were present

at the time the instrument was filed’ and recorded.

Any provision herein which restricts the sale, rental, or
use of the described real property because of color or
race is invalid and unenforceable under federal law.

THE STATE OF TEXAS

COUNTY OF HARRIS . . .

I hereby certify that this instrument was FILED in

File Number Sequence on the date and at the time stamped
hereon by me; and was duly RECORDED in the Official
Public Records of Real Property of Harris County, Texas.

RP-2019-56745

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 28 of 35

RP~2019~-56745
02/12/2019 ER 624.00

Prepared By: HEATHER NEAL

Meridian Asset Services, Inc.

780 94" Avenue N., Suite 102

St. Petersburg, FL. 33702

(727) 497-4650 ‘

When Recorded Mail To:
Collateral Deparument
Meridian Asset Services. Inc.
780 94" Avenue N., Suite 102
St. Petersburg, FL 33702

Space above for Recorder's use
Loan N : ‘
Sver Ln No

ASSIGNMENT OF DEED OF TRUST

For GOOD AND VALUABLE CONSIDERATION, the sufficiency of which is hereby acknowledged, the
undersigned, U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF CVF II] MORTGAGE
LOAN TRUST 0, whose address is 300 DELAWARE AVE 9TH FL. WILMINGTON DE 19801,
(A5SIGNOR), does hereby grant, assign and transfer to 4 , whose address
is fe (ASSIGNEE), its successors, transferees and assigns forever, all
beneficial interest under that certain deed of trust, together with the certain nore(s) described therein with all interest,

ali Hens, and any rights due or to become duc thereon.
. ® MITGLQINVESTORS, KP.
Date of Deed of Trust: 10/3/2008

Original Loan Amount: $34,400.00 ** GOL Connection Drive, Irving, Texas 75039
Executed by (Mortgagor(s)): CHARLES RAY MOSELY, ANUNMARRIED PERSON ~

Original Trustee: ROBERT K. FOWLER

Original Beneficiary: WELLS FARGO BANK, N.A.

Filed of Record: In Book ER 009-34, Page 0184,

Document/Instrument No: 20080527729 in the Office of County Recorder of HARRIS Cou nity, TX, Recorded
on LO/22/2008. .

Legal Description: SEE EXHIBIT “A” ATTACHED
Property more commonly described as: 3005 NITA, HOUSTON, TEXAS 77051

IN WITNESS WHEREOF, the undersigned by its duly elected officers and pussuanl fo proper authority of ils
board of directors has duly executed, sealed, acknowledged and delivered this assignment.

Date: oe "JO" } S

U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTER OF CVF Ill MORTCACER LOAN TRUST
i / 4

Witmess Name VERON)

Till VICE PRESIDENT .
WERIDIAN ASSET SERVICES, INC., ATTORNEY-IN-FACT FOR U.S.
BANK TRUST NATIONAL ASSOCIATION, AS TRUSTBE of CVF IN
MORTGAGE LOAN TRUST fl
RP-2019-56745

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 29 of 35

a Space above for Recorder's use

A NOTARY PUBLIC OR OTHER OFFICER COMPLETING THIS CERTIFICATE VERIFIES ONLY THE IDENTITY OF
THE INDIVIDUAL WHO SIGNED THE DOCUMENT TO WHICH THIS CERTIFICATE IS ATTACHED, AND NOT THE
TRUTHFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT

State of FLORIDA
County of PINELLAS °

On 8 : / 0 : / 5 » before me, TRUEANNE LESZZAK, a Notary Public, personally appeared HEATHER
NEAL, VICE PRESIDENT offfor MERIDIAN ASSET SERVICES, INC., ATTORNEY-IN-FACT FOR U.S.
BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE of CVF Ill MORTGAGE LOAN TRUST 1,
personally known to me, or who proved to me on the basis of satisfactory evidence to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/thcy executed the same in
his/her/heir authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the
entity upon behalf of which the person(s) acted, executed the instrument. I cemufy under PENALTY OF PERJURY
under the laws of the State of FLORIDA that the foregoing paragraph is true and correct.

Witmess my hand and official seal,
ne est caee™ Zor

(Notary Name): TRUEANNE LESZZAK.

My commission expires: 4/5/2019

rettt, — TRUEANNE LESZZAK
nf 4 MICCOMMISSION # FF 217hc5
EXPIRES: Apr, e019
ae Bersted Thny Boviget Hotary Servings

RP-2019-56745

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 30 of 35

EXHIBIT “A”

The West 33 feet of Lot twenty-seven 3 é

f é ¥-seven (27) and the adjoining East 22 feet of
we Twenty-eight (28), in Block Twenty-four (24) of REEDWOODS, an addition in
i rris County, Texas according to the map or plat thereof recorded in -
Olume 42, Page 71 of the Map Records of Harris County, Texas,

RP-2019-56745

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 31 of 35

RP-2019-56745

# Pages 4

02/12/2019 09:50 AM
e~Filed & e-Recorded in the
Official Public Records of
HARRIS COUNTY

DIANE TRAUTMAN

COUNTY CLERK

Fees $24.00

RECORDERS MEMORANDUM .
This instrument was received and recorded electronically
and any blackouts, additions or changes were present

at. the tima the instrument was filed and recorded.

Any provision herein which restricts the sale, rental, ox
usG of the described real proparty because of ‘color or
race is invalid and unenforceable’ under federal law.

THE STATE OF TEXAS

COUNTY OF HARRIS . .

I hereby certify that this anstxumant was FILED in

File Number Sequence on the date and at the time stamped
hereon by ma; and was duly RECORDED in the Official
Public Records of Real Property of Harris County, Texas.

Seder Liaw TaD

. COUNTY CLERK
HARRIS COUNTY, TEXAS

ER XXX-XX-XXXX

Case 20-32827 Document 29-1 Files/4a/doxSBnon @4/02/20 Page 32 of 35

ASSGN

1OR

Assignment of Devel of TRUST

Customer#t: 1/3 Service#s
Levant

For good and valuable consideration, the sufficiency of which is hereby acknowledged, PNMAC
MORTGAGE OPPORTUNITY FUND INVESTORS, LLC BY: PNMAC CAPITAL MANAGEMENT,
LLC ITS MANAGING MEMBER BY: PENNYMAC LOAN SERVICES, LLC, Irs
ATTORNEV-IN-FACT, 6107 CONDOR D1, SUITE #330, MOORPARK, CA 93021-4000, By theme
presents does convey, grant, borgain, sell, assign, transfer and set over to: U.S. BANK TRUST NATIONAL
ASSOCIATION, AS TRUSTEE OF CVF [I MORTGAGE LOAN TRUST TL, 300 DELAWARE AVE
OTH FLOOR, WILMINGTON, DE 19801-0000. The described Deed of Trust, together with the certain
note(s) described therein with all intercat, all liens, and any rights due or to becorse due theraon, Said Deed of
‘Teunt in the amount of $34,400.00 and recorded in the State of TEXAS, County of FARRIS Official Records,
dated OCTOBER 03, 2008 and recorded on OCTOBER 22, 2008, as Instrument No. 20080827729, In Hook
No. ~~, at Page No, =,

Original Mortgagor. CHARLES RAY MOSELY, AN UNMARRIED PERSON. Original Mortgages:
WELLS FARGO BANK, NLA. Original Trustee: ROBERT K. FOWLER. Property Address: 3005 NIT A,

HOUSTON, TX. 7705}-0000.
Date: fo eae Te _ Effective Date: TUNE 26, 2015

PNMAC MORTGAGE OPPORTUNITY FUND INVESTORS, LLC BY: PNMAC CAPITAL
MANAGEMENT, LLC ITS MANAGING MEMBER BY: PENNYMAC LOAN SERVICKS, LILC, TTS
ATTORNEY+IN-F AS

gece

by: Se

(Manne, Tithe): Chris White
Authorized Representative

A notary public or other officer completing this certificate

verifies only the identity of the individual who signed the

document to which this certificate is attached, and not the

truthfulness, accuracy, or validity of that document,

State of CALIFORNLA }
County of VENTURA } ss.

(st oceninlnaois:

On nl ¢s OP gor , before me, Ka yg bererty tans a Noury Public, personally appeared
is. White. _ whe proved tome on the basis of eatisfaciory evidence to be the

person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that be/shethey
executed the same in his/her/their authorized capacity(ies) and that by his/her/their signature(s) on the
instrument the person(s), of the entity upon behalf of which the person(s) acted, executed the insirumem. |
certify under PENALTY OF PERJURY wader the laws of the State of California that the foregoing paragraph iv
ue and correct,

Witsess my hand and official seal.

Awl i sis sl

Kay WIGTON °
Commission # 1966840 :
Notary Public « Calitorata

K hey ial Ventura County
(Notary Nawré): ty Jad ves ep a j My Comm, Expites Deo 28,2015

Recording Requested By:

Prepared By: RYAN J REBENSDORF, P.O. BOX 250 ORANGE, CA 92856, (714) 385-3500
And When Recorded Mail Ta:

OLD REPUBLIC P.O. BOX 280 ORANGE, CA 92856

Pi ys

2EE
ER XXX-XX-XXXX

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 33 of 35

20150441585

# Pages 2

09/28/2015 01:02 PM
e-Filed & e-Recorded in the
Official Public Records of
HARRIS COUNTY

STAN STANART

COUNTY CLERK

Fees $16.00

RECORDERS MEMORANDUM
This instrument was received and recorded electronically
ei

and any blackouts, additions or changes were present.
at the time the instrument was Filed’ and recorded.

Any provision herein which restricts the sale, rental, or
use of the described real property because of color or
race is invalid and unenforceable under federal law.

THE STATE OF TEXAS

COUNTY OF HARRIS

I hereby certify that this instrument was FILED in

File MWuttber Seqience on the date and at the time stamped
hereon by me; and was duly RECORDED in the Official
Public Records of Real Property of Harris County, Texas.

Stn SHinat

COUNTY CLERK
HARRIS COUNTY, TEXAS

‘

. “ Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 P

RECORD AND RETURN TO:
"'PNMC - DB National Trust. Co. 21 2OS 82259
C/0.Oid Republic } 08/21/2012 RP2 $14.00

500 City Parkway West, Suite 200

RP OR S—59o-—2450

Tax ID No.
ASSIGNMENT OF DEED OF TRUST

FOR VALUABLE CONSIDERATION RECEIVED, tha receipt and sufficiency of which is hereby acknowledged, the undersigned

WELLS FARGO BANK, N.A., “Assignor”, does hereby grant, sell, assign, transfer and convey to PNMAC Morlgage Opportunity { IL

Fund Investors, LLC, “Assignee,” all interest of the undersigned Assignor in and to the Mortgage/Deed gf Trust dated
10/03/2008, and executed CHARLES RAY MOSELY, AN UNMARRIED PERSON, and filed lor record in’ & (DOCUMENT
#20080527729, on 10/22/2008, in the Public Records for HARRIS County, TX, together with the note(s) and obligations therein
described or referred to, the money due and to become due thereon, with interest, and all rights accrued or to acorue under said
Mortgage/Deed of Trust. Trustee lisied on Deed of Trust, if applicable: ROBERT K. FOWLER .

ne r % Book ER 009-3u , PAGE 0184
TO HAVE AND TO HOLD the same unio Assignee and unto its successors and assigns forever, subject only to the terms and
conditions of the above-described Mortgage/Deed of Trust. ,

Effective Date: 06/03/2011 x

IN wi TNESS WHEREOF, this instrument was executed by the undersigned on this the \b day of
Jj UMe , ZEA __.

BS LLC AS ATTORNEY IN FACT FOR WELLS FARGO BANK, N.A. oy &

wine: / I alt Li Math aL
TITLE: Auch noized Lopeanytabve

STATE OF CALIFORNIA
al OF LOS ANGELES
\6

PENNYMAC LOAN SERVI

la before me, ANGELA EVEREST, Notary Public, personally appeared

lTivd Lee FUT £4 _, who proved to me on the basis of satisfactory evidence) lo be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the same in his/fheritheir
authorized capacity(ies}, and that by his/her/heir signature(s) on the Instument the person(s), or the entity upon behalf of which
the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California thal the foregoing paragraph is true and correct.

WITNESS my hand and official sea)

ss

NOTARY PUBLIC
ANGELA EVEREST
MY COMMISSION EXPIRES: 06/13/2015 FILED FOR RECORD
8:00 AM
[RECORDER'S BE ORANOUM
A itt i ior, Rraige Ree We wea '
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County Clerk, Harris County, Texas

Case 20-32827 Document 29-1 Filed in TXSB on 07/02/20 Page 35 of 35

Return To:

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Assignment of Deed of Trust

FOR VALUE RECEIVED, Wells Fargo Bank, N.A., successor by merger to Wells Fargo Home Mortgage, Inc.,
formerly known as Norwest Mortgage, Inc., whose address is 2701 Wells Fargo Way, Minneapolis, MN 55467,
hereby sells, assigns, and transfers to:

its successors and assigns, all its right, title and interest in and to a certain Deed of Trust executed by Charles
Ray Mosely, An Unmarried Person to Wells Fargo Bank, N.A., and bearing the date of 10/3/2008 recorded in
the office of the Recorder of Harris County, State of Texas in Book 009-34 at Page 0184 as Document No.
20080527729 on 10/22/2008,

Signed this day, 522011.

Effective Date 4/3/2011. Wells Fargo Bank, N.A. successor by merger to
Wells Fargo Home Mortgage, lnc., formerly
kmoy St PL

Olson )
Title: Wice President Loan Documentation

STATE OF MINNESOTA}

COUNTY OF HENNEPIN) SS.

On S/RAOH, before me, Matthew Joseph Beumer, a Notary Public, personally appeared Edward G. Olson, 2701
Wells Fargo Way. Minneapalis, MN 53467. ta me known, who being duly sworn, did say that he is the Vice
President Loan Documentation of Wells Fargo Bank, N_A., successor by merger to Wells Fargo Home Mortgage,
inc, formerly known as Norwest Mortgage, Inc., and acknowledged to me that he executed the same in his capacity
and that said instrument was executed on behalf of said corporation.

Minneapolis, MN 55467

PREPARED BY:

Edward G. Olson (612) 312-9469
Wells Fargo Bank, N.A.
2701 Wells Fargo Way A MATTHEW JOSEPH BEUMER
NOTARY PUBLIC-MINNESCIA
ity Comumisnion Expires Jon, 11, 2012

